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Exhibit
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IN THE CIRCUIT COURT OF THE FIRST JUDICIAL DISTRICT OF
HINDS COUNTY, MISSISSIPPI

CITY OF JACKSON,
Plaintiff,

V. | causENO. /7- 375

SIEMENS INDUSTRY, INC., SIEMENS
CORPORATION, SIEMENS AG, CHRIS
MCNEIL, U.S. CONSOLIDATED, INC.,
U.S. CONSOLIDATED GROUP LLC, File bp
M.A.C, & ASSOCIATES, LLC, [VISION IT
CONSULTANTS LLC, GARRETT
ENTERPRISES CONSOLIDATED, INC.
and JOHN DOES 1 — 10

 

Defendants.

 

PLAINTIFF’S ORIGINAL COMPLAINT
(JURY TRIAL DEMANDED)

 

Plaintiff, the City of Jackson, Mississippi (the “City” or “Plaintiff”), files this Original
Petition against Defendants, Siemens Industry, Inc., Siemens Corporation, Siemens AG, Chris
McNeil (collectively, “Siemens”), U.S. Consolidated, Inc., U.S. Consolidated Group LLC
(collectively, “U.S. Consolidated”), M.A.C. & Associates, LLC (“M.A.C.”), Ivision IT
Consultants LLC (“Ivision”), Garrett Enterprises Consolidated, Inc. (“Garrett”), and John Does 1
— 10 (collectively, the “Defendants”), and hereby pleads as follows:

I. PARTIES

is Plaintiff, the City of Jackson, is a municipal corporation organized and existing
under the laws of the State of Mississippi. The City of Jackson is a mid-sized city with a
population of approximately 165,000 residents. The Jackson Area Water and Wastewater system

serves residents and citizens within Hinds County, Mississippi. The City is governed by the
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Mayor and City Council. The Mayor is elected by the at-large vote of the residents and citizens
of the City. There are seven members of the City Council, each elected to represent the citizens
and residents of one of the City’s seven Wards. This lawsuit is filed by authority of the Mayor of
the City of Jackson and with approval of the City Council as the elected representatives of the
citizens and residents of the City.

2 Siemens Industry, Inc. is a Delaware corporation doing business in the State of
Mississippi. Siemens Industry, Inc. may be served through its registered agent, CT Corporation
System, at 645 Lakeland East Dr., Suite 101, Flowood, Mississippi 39232.

3: Siemens Corporation is a Delaware corporation doing business in the State of
Mississippi. Siemens Corporation may be served through its registered agent, CT Corporation
System, at 645 Lakeland East Dr., Suite 101, Flowood, Mississippi 39232.

4. Siemens AG is a German corporation that does business in the State of
Mississippi through its subsidiaries, including Siemens Industry, Inc. and Siemens Corporation,
and under the umbrella of “Siemens” and “One Siemens.” Siemens AG may be served through
Joe Kaeser, its President and Chief Executive Officer, at Wittelsbacherplatz 2, 80333 Munich,
Germany, or wherever he may be found.

5. Chris McNeil is an individual who, on information and belief, resides and works
in Mississippi. McNeil is a former employee of Siemens and is being sued in his individual
capacity and in his capacity as an agent of Siemens. McNeil may be served at 980 North
Bierdeman Road, Pearl, Mississippi 39208, or wherever he may be found.

6. U.S. Consolidated, Inc. is a Mississippi corporation with its principal office

located at 4785 I-55 North, Suite 102, Jackson, Mississippi 39206. U.S. Consolidated, Inc. may
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be served through its registered agent, Tom Wallace, at 939 Royal Oak Dr., Jackson, Mississippi
39209, or wherever Mr. Wallace may be found.

T U.S. Consolidated Group LLC is a Mississippi limited liability company doing
business in the State of Mississippi. U.S. Consolidated Group LLC may be served through its
registered agent, Tommy Wallace, at 4785 I-55 North, Suite 102, Jackson, Mississippi 39206, or
wherever Mr. Wallace may be found.

8. M.A.C. & Associates, LLC is a Mississippi limited liability company doing
business in the State of Mississippi, with its principal office located at 125 S. Congress St., Suite
1300, Jackson, Mississippi 39201. M.A.C. & Associates, LLC may be served through its
registered agent, Marcus L. Wallace, at 125 S. Congress St., Suite 1300, Jackson, Mississippi
39201, or wherever Mr. Wallace may be found.

9. Ivision IT Consultants LLC is a Mississippi limited liability company doing
business in the State of Mississippi. Ivision IT Consultants LLC may be served through its
registered agent, James Covington, at 1061 Whitsett Walk, Jackson, Mississippi 39206, or
wherever Mr. Covington may be found.

10. Garrett Enterprises Consolidated, Inc. is a Mississippi corporation with its
principal office located at 2659 Livingston Road, Jackson, Mississippi 39213. Garrett
Enterprises Consolidated, Inc. may be served through its registered agent, Leland Socrates
Garrett, at 2659 Livingston Road, Jackson, Mississippi 39213, or wherever Mr. Garrett may be
found,

11. | Defendants John Does 1 — 10 are persons or entities who may be liable for all or

part of the claims or damages set forth in this Complaint, but whose involvement or identity is
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unknown at this time. These defendants include, without limitation, individuals or entities who
received improper payments or benefits in connection with the project at issue in this lawsuit.
I. JURISDICTION AND VENUE

12. This Court has subject matter and personal jurisdiction over the Defendants under
Mississippi Code § 9-7-81. The Defendants reside in Mississippi and/or committed the acts,
omissions, and torts described in this Complaint in the State of Mississippi. Defendants also
have systematic and continuous contacts with the State of Mississippi.

13. Under Mississippi Code § 11-11-3, venue is proper in the Circuit Court of Hinds
County, Mississippi because the events that caused the injuries at issue occurred in Hinds
County, Mississippi.

Ill. CONDITIONS PRECEDENT

14. All conditions precedent necessary to maintain this action have been performed or
have occurred.

IV. CASE OVERVIEW

15. This case involves a massive fraud orchestrated by Siemens under the guise of an
energy performance contract promising $120 million in guaranteed savings for the City.
Siemens was paid $90 million to install a new automated water meter and billing system and to
make repairs to the City’s water treatment plants and sewer lines. Siemens committed fraud with
respect to who was performing the work on the project, what the system would do, and what
savings the system would generate, among other things. Far from delivering on its promise of
$120 million in guaranteed savings, Siemens caused more than $225 million in losses to the City.

16. To induce the City to hire Siemens for the $90 million project, Siemens

guaranteed that increased revenue and savings from the water meter upgrades would pay for the
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cost of the project. Siemens assured the City that the new system would be so accurate in
measuring the water consumed by the City’s customers that the system would pay for itself
through increased revenue collections and a decrease in the number of City employees needed to
manage the automated system. In its pitch to the City, Siemens repeatedly invoked the
guaranteed structure of an energy performance contract.

17. Siemens failed the citizens of Jackson in its promises to perform and in its
obligations of honesty and fair dealing. When it came time to execute an agreement, Siemens
effectuated a “bait-and-switch” that fell short of a true performance contract. Despite promising
to structure an agreement to comply with the requirements of an energy performance contract
regulated by the State of Mississippi, Siemens created a deal structure with illusory savings and
no real performance assurances at all. The substantial majority of the purported “savings” under
the contract are phony, assumed amounts that are not measured against actual savings or revenue
realized by the City. Siemens represented that it would structure the agreement to comply with
energy performance contracting requirements, but it intentionally omitted any true performance
guarantees or energy savings in the contract itself. The City thus took on all of the risk of the
project while Siemens was paid $90 million regardless of its delivery of actual savings and
revenue.

18. As a further inducement for the City to enter into a contract with Siemens,
Siemens also misrepresented its commitment to hire qualified, minority-owned subcontractors
under an Equal Business Opportunity (EBO) plan. In an effort to provide opportunities for
historically-underutilized businesses, the City encourages contractors like Siemens to consider
qualified minority-owned businesses when selecting subcontractors to perform work on public

works projects. As part of its pitch to secure a contract with the City, Siemens represented that it
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would utilize minority-owned businesses to carry out 58% (more than $52 million) of the $90
million project cost. However, Siemens never intended to hire qualified EBO subcontractors to
actually perform the work. Instead, Siemens conspired with its co-defendants and used a pass-
through scheme in which it hired sham subcontractors and middlemen to inflate its EBO
numbers and deceive the City’s residents. Focused only on generating a multi-million dollar
project for itself, Siemens drove up the cost of the project by using unqualified pass-through
entities selected on the basis of their political connections and influence rather than their
qualifications, thereby depriving qualified and competent EBO contractors the opportunity to
perform the work in accordance with the law and the representations made by Siemens. Siemens
and its co-defendants manipulated the EBO plan requirements and made millions of dollars to
the detriment of the citizens of Jackson.

19. Siemens not only defrauded the City and its residents through the contracting
process, but Siemens also failed to provide a water meter system that works. The $90 million
project has been plagued by technical problems. More than half of the 60,000 water meters were
installed incorrectly, causing delays in the project and chronic, ongoing problems with accurately
measuring and billing for water usage by the City’s customers. The billing system was not set up
appropriately to address the thousands of faulty meter readings, which resulted in accounts
becoming “stranded” in the system. To this day, the metering system has repeatedly generated
grossly inaccurate bills and, in some instances, failed to generate bills at all. It is estimated that
at least 10,000 of the 60,000 meters installed by Siemens are not functioning correctly. This has
resulted in the City’s inability to collect revenue from water use, while the City’s residents and

businesses have lost all confidence in the defective system installed by Siemens.
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20. Instead of delivering more timely and accurate water bills for customers and
additional revenue for the City, the $90 million water system has been a financial disaster. The
City is losing $2 million in revenue each month and has lost more than $20 million in revenue
over the last year alone. The new meter and billing system has failed to cover even the
operations and maintenance expense incurred by the City to manage and correct the flawed
system. All the while, the City is burdened with making annual debt payments of $7 million to
pay off its investment in a water system that does not work, and the City is unable to fund other
necessary projects due to a downgrade in its credit rating as a result of the Siemens project.

21. Given the fraud and technical failures of the Siemens project, the City has been
forced to bring this lawsuit to hold Siemens and its co-defendants accountable for their promises
to the citizens of Jackson. The City seeks to recover more than $150 million for the City’s costs
of funding the fraudulent deal, which includes the $90 million paid to Siemens and the City’s
debt service costs for financing the project. The City also seeks to recover more than $75 million
for lost revenue and for damage to the City’s creditworthiness and reputation, which has
impacted the City’s ability to obtain financing for other necessary public works projects. Finally,
the City seeks to recover several million dollars for the estimated cost to repair the
malfunctioning water meter system and to pay for ongoing operations and maintenance costs for
the system.

Vv. FACTUAL BACKGROUND

A. Siemens Makes False Promises to Induce the City to Approve the Project.

22. The City’s path to the ill-fated project with Siemens started several years ago. In
August 2011, the City, through the administration of former Mayor Harvey Johnson, issued a
Request for Qualifications for an Energy Performance Contract. Siemens issued a response to

the City’s Request for Qualifications in or around October 2011.
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23. After receiving Siemens’s response, the City and Siemens engaged in discussions
regarding the City’s water meter system and the possibility of improvements to the system under
an energy performance contract. During those discussions, Siemens representatives, including
Chris McNeil, represented that the City would generate additional revenue from water usage and
would realize operational savings if it upgraded its water meter system. Siemens and McNeil
assured the City that the additional revenue and savings would pay for the cost of the project and
would result in incremental revenue for water usage not captured by the City’s current meters.

24. In May 2012, Siemens conducted an audit of the City’s water system. As part of
the audit, Siemens prepared a technical analysis of the City’s water meter system. The analysis
claimed that the City’s meters were only 86% to 94% accurate, and the meter. accuracy would
decrease to 79% to 87% over a fifteen-year period. Siemens, through representatives that
included Chris McNeil, represented that new water meters installed by Siemens, by comparison,
would have a 98.5% accuracy rate. Siemens represented that its more accurate meters would
result in increased revenue for the City without the need to raise rates charged to the citizens of
Jackson. Siemens and McNeil further represented that the City would benefit from operational
and maintenance savings associated with updated meters that could be read remotely, which
would eliminate the need for City personnel to read individual meters and perform repairs to the
old system.

25. Siemens guaranteed that the City would realize more than $120 million in
increased revenue and savings as a result of the water meter upgrades. Siemens representatives,
including McNeil, again represented that the guaranteed savings from the water meter upgrades
would pay for the cost of the project and the City’s cost of financing the work. To convince the

City to issue a notice to proceed with the project, Siemens representative Chris McNeil assured .
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the City Council in July 2013 that the City would immediately begin to realize savings and
increased revenue as soon as the Siemens project began, which would allow the City to pay for
its debt service during the construction period and over the course of the City’s loan repayment.
The City relied on Siemens’s and McNeil’s promises of immediate, guaranteed savings in
authorizing commencement of the project. |

26. To induce the City to enter into a contract with Siemens, Siemens representatives,
including McNeil, also represented to the City that more than 50% of the total project cost would
comply with the City’s EBO plan by utilizing minority-owned businesses in performing aspects
of the project. In September 2012, Siemens submitted an application to the City’s EBO Office
representing that 58% of the project cost would be subcontracted to minority-owned businesses.
Siemens acknowledged that the minority-owned businesses involved in the project would, per
the requirements of the City’s EBO plan, perform a “commercially useful function” by being
responsible for a distinct element of the work and by actually performing, managing, and
supervising the work involved. Siemens also represented to the City that Siemens would mentor
and train the minority-owned businesses involved in the project.

27. In October 2012, relying on Siemens’s and McNeil’s promises of increased
revenue and savings and involvement of minority-owned businesses, the City Council approved
entering into a contract with Siemens to upgrade the City’s water system. The City later
discovered, however, that Siemens manipulated the contracting process and provided illusory
guarantees to the City in order to secure the contract.

B. Siemens Imposes 2 Contract Structure Burdened by $90 Million in Upfront Costs
and Illusory Guarantees.

28. Siemens representatives, including McNeil, pitched the Siemens project to the

City as an energy performance contract. Energy performance contracts are subject to public
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contracting requirements and are regulated by the State of Mississippi through the Mississippi
Development Authority (“MDA”). Despite presenting its project as an energy performance
contract, however, Siemens created a contract structure that fails to deliver the guaranteed energy
performance and savings promised by Siemens and required by law for such regulated contracts.

29. The City and Siemens entered into what was called the Performance Contracting
Agreement (the “Agreement”), dated January 30, 2013, but signed by former Mayor Harvey
Johnson on December 28, 2012. The Agreement was amended four times to address specific
issues. A copy of the Agreement, with Amendments 1, 2, 3, and 4, is attached as Exhibit A to
this Complaint.

30. | The Agreement required Siemens to “install an Automatic Metering System to
provide hourly reads.” See Amendment No. 4 at § 1.2.1. The required components of the
automatic metering system included 60,000 water meters with remote transmitters, 4,700 backup
water meters for inventory, 60 data hub collectors, and 900 network repeaters. See id. In
addition, the Agreement called for Siemens to implement a new billing and payment system,
referred to as the Customer Care & Billing (CC&B) System, as part of the meter upgrades.
Siemens was obligated to develop and install the new billing software module and server,
transfer billing account data from the existing billing system to the CC&B System, and provide
training and technical support for the new automatic metering and billing system. See id.
Among other specific obligations, Siemens agreed to “provide training and administrative
support prior to Substantial Completion of the Project to ensure a functional system.” See id.
(emphasis added).

31. Despite its repeated representations regarding a performance contract with

guaranteed revenue and savings, Siemens created a deal structure that required the City to pay

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$90 million in upfront installation costs and another $4.5 million for Siemens is measure what
were essentially illusory performance guarantees. The “Performance Guarantee” from Siemens
states that “the increase in billable usage over the Baseline ... , through more accurate
measurement, will be equal to or exceed the total Project Cost” of $90 million. See Agreement
at Exhibit C, § 1.3. Table 1.2 of the Agreement identifies $122 million in guaranteed savings,

broken down by billable usage increase, operational savings, and deferred maintenance savings:

large Meter
Period Billable Billable Usage | Savings $ | Maintenance

Usage Increase $ Savings §
Increase

750 -

Annual

Annual
Annual

Annual

 

32. This performance guarantee structure imposed by Siemens contains purported
“savings” that are illusory and not based on reality. The alleged savings from large meter usage
increases, operational reductions, and deferred maintenance are not based on actual savings or
revenue, but rather on amounts that are assumed to occur over the 15-year period covered by the
contract. As a result, only the small meter revenue increase is subject to an actual measurement

of performance for each annual period. And even under that component, Siemens measures its

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own performance and does not compare the alleged usage increases to actual revenue collected
by the City. Siemens thus created a performance contract structure with no real performance
guarantees, and with 65% (around $80 million) of the $122 million in purported savings based
on amounts that will never be measured to determine if the savings actually occurred.

33. Compounding the illusory nature of Siemens’s performance guarantees, Siemens
is charging the City another $4.5 million to measure its own yearly performance. If the City fails
to pay for the ongoing Performance Assurance Program, Siemens will not guarantee the
purported savings promised under the Agreement. Siemens thus is charging the City $4.5
million for a self-evaluation of performance metrics that do not reflect the City’s actual collected
revenue and realized savings. Knowing the City lacked the technical expertise to evaluate fully
Siemens’s proposal, Siemens was able to effectuate a “bait-and-switch” that fell short of a true
energy performance contract with guaranteed savings and revenue that would pay for the cost of
the project. |

Cc, Siemens Manipulates EBO Plan Requirements by Using a Fraudulent Pass-Through
Scheme.

34. On top of Siemens’s illusory guarantees, Siemens’s “bait-and-switch” scheme
was facilitated by its manipulation of EBO plan requirements. To induce the City to enter into
the Agreement, Siemens representatives, including McNeil, represented that minority-owned
businesses would be utilized for 58% of the $90 million project cost. Yet Siemens and McNeil
never intended to live up to that promise. Instead, Siemens and McNeil conspired with the other
Defendants and concocted an EBO pass-through scheme in which Siemens utilized sham
subcontractors to obtain approval of the Agreement.

35. Siemens submitted a plan to use several minority-owned businesses as

subcontractors for the project to satisfy its 58% commitment. As part of the EBO plan, Siemens

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purported to engage U.S. Consolidated, Inc. and/or U.S. Consolidated Group LLC (U.S.
Consolidated”), a company owned and managed by former Mississippi state politician and
lobbyist Tom Wallace, as a subcontractor responsible for supplying the water meters for the
project. Siemens representatives, including McNeil, represented to the City that Siemens would
pay U.S. Consolidated approximately $19 million for water meter supply and logistics. At the
conclusion of the project, Siemens claimed that it ended up paying U.S. Consolidated
approximately $19.5 million for its work on the water project.

36. | However, in reality, Siemens and McNeil brought in U.S. Consolidated as a pass-
through entity involved in the supply of water meters on paper only. Siemens carried out its
scheme by having U.S. Consolidated buy the water meters from the manufacturer, Mueller
Systems, and then sell the meters to Siemens at a marked-up price for installation by yet another
subcontractor. Siemens thus conspired with U.S. Consolidated, a minority-owned business, to
use U.S. Consolidated as the water meter middleman to funnel the meters to Siemens as part of a
fraudulent EBO scheme, all at an increased cost to the City. Siemens simply used Tom
Wallace’s company as a pass-through entity to inflate the EBO participation percentage for the
project. For its part, U.S. Consolidated received nearly $20 million for doing nothing more than
serving as a middleman for water meters that were manufactured and installed by other
companies.

37. Siemens and McNeil used other sham contractors in the EBO pass-through
scheme. Siemens and McNeil represented to the City that M.A.C. & Associates, LLC
(“M.A.C.”), a minority-owned business owned and managed by Marcus Wallace, would be paid
approximately $19 million as a subcontractor responsible for water plant and sewer line repairs

and installation of the new water meters. In reality, Hemphill Construction, Inc. performed most

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of the water plant and sewer line repairs, either through a separate subcontract with Siemens or
through a second-tier subcontract with M.A.C. At the direction of Siemens, Pedal Valve, Inc.
also performed a substantial portion of the water meter installation work through a subcontract
with Siemens or a second-tier subcontract with M.A.C. Because M.A.C. was not qualified to
perform the work assigned to it on paper as part of Siemens’s EBO scheme, Hemphill and Pedal
Valve actually performed the work, which increased the costs to the City. Siemens and McNeil
falsely claimed that M.A.C. was providing a commercially useful function as a qualified EBO
contractor even though other contractors actually performed the work. M.A.C. conspired with
Siemens and agreed to serve as a pass-through entity in return for receiving $19 million.

38. Similarly, Siemens and McNeil represented that Ivision IT Consultants LLC
(“Ivision”), a minority-owned business owned and managed by James Covington, was paid
approximately $11 million as a subcontractor responsible for implementing the new CC&B
billing system. However, another company ended up performing most of that work, and it is
unclear what role, if any, Covington’s company actually played in performing or managing the
implementation of the billing system. Ivision was paid $11 million for simply serving as a pass-
through entity for Siemens’s EBO scheme.

39. Finally, Siemens and McNeil represented to the City that Garrett Enterprises
Consolidated, Inc. (“Garrett”), a minority-owned business owned and operated by Socrates
Garrett, was paid $4.6 million to perform construction management and quality control services.
However, it is unclear what services, if any, Garrett actually performed and how those services
provided any commercially useful function for the project and benefit to the citizens of Jackson.
Like the other sham subcontractors, Garrett received millions of dollars to serve as a pass-

through entity under Siemens’s fraudulent EBO plan.

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40. The City approved the Siemens project based on Siemens’s and McNeil’s
fraudulent representations regarding Siemens’s EBO plan commitments. Instead of abiding by
its promise to hire minority-owned businesses to perform 58% of the $90 million contract,
Siemens used unqualified, sham subcontractors based on their political connections and
influence to carry out a pass-through scheme that ultimately cost the City millions of dollars in
inflated costs for an already overpriced water system. Siemens’s selection of unqualified EBO
subcontractors resulted in shoddy work that contributed to problems with the current water
system and deprived other qualified EBO businesses the opportunity to perform the work.

D. Siemens Provides a Flawed Metering and Billing System that Fails to Deliver
Increased Revenue and Savings.

41. In addition to the Agreement being tainted by Siemens’s fraud, the Siemens
project was plagued by technical problems from the start. Among other issues, it is estimated
that more than half of the 60,000 water meters were installed incorrectly or did not satisfy the
required specifications, causing delays in the project and problems with accurately measuring
and billing for water usage by the City’s customers. The entire project was delayed in early 2015
when the City discovered that Siemens had installed meters that read in gallons instead of the
appropriate cubic-feet reading. Absent the City catching Siemens’s mistake, the incorrect meters
would have resulted in drastically-higher and inaccurate bills to the City’s customers.

42. Shortly after the new billing system went live in 2015, the City began to.
accumulate a backlog of thousands of “stranded bills,” which continues to grow even as the City
works to clear those bills. The billing system has caused many customers to receive inexplicably
high bills that do not reflect their actual water usage. In other instances, customers may receive
no bill at all for significant periods of time, only to eventually receive an unusually high bill

based on months of purported water usage. These issues have caused customers to contest bills

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or lack the ability to pay them, while other customers fail to receive bills at all. Billing and
measurement problems continue to this day. The City estimates that at least 10,000 of the
60,000 new meters are not functioning correctly, resulting in numerous unpaid accounts and
water usage that is not accurately captured. The City’s customers have lost faith in the water
billing system as a result.

43. The technical problems with the Siemens project were exacerbated by Siemens’s
hiring of—and failure to supervise appropriately—unqualified contractors. For example, neither
U.S. Consolidated, nor M.A.C., nor Ivision was qualified to perform the work that Siemens
purportedly hired the companies to perform. Siemens’s use of unqualified subcontractors not
only resulted in performance issues, but also inflated the costs of the project. With regard to the
materials and work furnished by or through U.S. Consolidated, M.A.C., Ivision, and Garrett—
under Siemens’s negligent management and supervision—the work and materials were defective
and contributed to the numerous technical problems with the Siemens water system that continue
to this day.

44. The Siemens project has devastated the City’s finances. The City has fallen well
short of its budgeted revenue target for water and sewer services since Siemens installed the new
water system. It is estimated that the City is losing approximately $2 million in revenue each
month, and the City has lost more than $20 million in revenue over the last year alone. Siemens,
on the other hand, has been paid $90 million and continues to charge the City millions of dollars
for Siemens to perform self-evaluations of its performance, even though such evaluations are

primarily based on illusory guarantees that Siemens characterizes as “stipulated” savings.

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VI. CAUSES OF ACTION
Count One — Fraud and Fraud in the Inducement

45. Plaintiff incorporates all prior paragraphs into this section, to the extent not
inconsistent, as if fully set forth herein.

46. During discussions before execution of the Agreement and in meetings and
presentations seeking to obtain the City’s approval of the water and sewer system project,
Siemens and McNeil misrepresented to the City that: (a) guaranteed savings and revenue from
upgrading the City’s water meter and billing system will pay for the cost of the $90 million water
improvement project and the City’s cost of financing the project; (b) due to the guaranteed
savings and revenue from upgrading the City’s water system there is no financial downside or
financial risk for the City in hiring Siemens to install the new water meter and billing system; (c)
Siemens will utilize and pay minority-owned businesses to perform 58% of the total $90 million
contract price for the water system improvement project and such minority-owned businesses
will perform a “commercially useful function,” pursuant to the City’s EBO plan, by being
responsible for a distinct element of the work and actually performing, managing, and
supervising the work involved; and (d) Siemens will mentor, train, and manage the minority-
owned businesses involved in the project.

47. | The above referenced statements and misrepresentations were made by Siemens
and McNeil with actual knowledge that they were false. Alternatively, the above referenced
statements and misrepresentations were made recklessly, as a positive assertion, and without
knowledge of their truth.

48. The above referenced statements and misrepresentations were material to the

City’s decision to enter into the Agreement and authorize Siemens to make improvements to the

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City’s water and sewer system. Siemens and McNeil made the above referenced statements and
misrepresentations with the intention that the City act upon them and enter into the Agreement,
and the City relied on the above referenced statements and misrepresentations in entering into the
Agreement and authorizing Siemens to make improvements to the City’s water and sewer
system.

49. As aresult of Siemens’s and McNeil’s false representations, the City has incurred
damages for which it now sues. The City requests that Siemens and McNeil be held jointly and
severally liable and be ordered to disgorge all revenue and funds received from the City and pay
all actual and consequential damages resulting from their wrongful conduct, including but not
limited to the $90 million paid to Siemens in connection with the Agreement, and the City’s lost
revenue, debt service costs, loss of credit, damage to credit rating and reputation, investigation
and remediation costs, and repair costs. The City also seeks punitive damages due to Siemens’s
and McNeil’s fraud.

Count Two — Negligent Misrepresentation

50. Pleading affirmatively and in the alternative, Plaintiff incorporates all prior
paragraphs into this section, to the extent not inconsistent, as if fully set forth herein.

51. | Siemens and McNeil misrepresented to the City that upgrading the City’s water
meter and billing system will result in guaranteed savings and revenue that will cover the costs of
the $90 million water improvement project and the City’s cost of financing the project, and that
due to Siemens’s guarantee of savings and revenue there is no financial downside or risk for the
City in hiring Siemens to instal] the new water meter and billing system.

52. Siemens and McNeil failed to exercise reasonable care in making the above

referenced statements and misrepresentations.

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53. The above referenced statements and misrepresentations were material to the
City’s decision to enter into the Agreement and authorize Siemens to install the water fee and
billing system. The City relied on the above referenced statements and misrepresentations in
entering into the Agreement and authorizing Siemens to proceed with installing the water meter
and billing system.

54. As a result of Siemens’s and McNeil’s misrepresentations, the City has incurred
damages for which it now sues. The City requests that Siemens and McNeil be held jointly and
severally liable and be ordered to pay all actual and consequential damages resulting from their
wrongful conduct, including but not limited to the City’s lost revenue, debt service costs, loss of
credit, damage to credit rating and reputation, investigation and remediation costs, and repair
costs. The City also seeks punitive damages as Siemens’s and McNeil’s misrepresentations
constitute gross negligence.

Count Three — Civil Conspiracy

55. Pleading ‘affirmatively and in the alternative, Plaintiff incorporates all prior
paragraphs into this section, to the extent not inconsistent, as if fully set forth herein.

56. | Siemens and McNeil conspired with U.S. Consolidated, M.A.C., Ivision, and
Garrett to accomplish unlawful purposes, including but not limited to the acts, omissions, and
torts described in this Complaint, and to accomplish lawful purposes by unlawful means,
including but not limited to the acts, omissions, and torts described in this Complaint. The
Defendants’ conspiracy includes, but is not limited to, the fraudulent EBO pass-through scheme

described in this Complaint.

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57. The Defendants had a meeting of the minds on the object or course of action, and
at least one member of each conspiracy committed at least one unlawful, overt act to further the
object or course of action.

58. The City suffered injury as a proximate result of the Defendants’ wrongful acts,
including the fraud and other torts described in this Complaint.

59. The City requests that the Defendants be held jointly and severally liable and be
ordered to disgorge all revenue and funds received from the City and pay all actual and
consequential damages resulting from their wrongful conduct, including but not limited to the
$90 million paid to Siemens in connection with the Agreement, and the City’s lost revenue, debt
service costs, loss of credit, damage to credit rating and reputation, investigation and remediation
costs, and repair costs. The City also seeks punitive damages due to the Defendants’ fraud,
malice, and gross negligence.

Count Four — Negligence

60. Pleading affirmatively and in the alternative, Plaintiff incorporates all prior
paragraphs into this section, to the extent not inconsistent, as if fully set forth herein.

61. Siemens owed legal duties to the City in connection with the design and
installation of the water meter and billing system. Siemens breached its duties and obligations to
the City by failing fi provide adequate design, services, management, and oversight, and by
failing to furnish and install a water meter and billing system that was free of defects in design,
work, and materials and that worked correctly with regard to both the physical equipment and
software.

62. Siemens breached its duties owed to the City by, among other reasons: (a) failing

to adequately design the water meter and billing system to ensure the proper installation of

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equipment and the correct functioning of the equipment and software; (b) failing to adequately
design the water meter and billing system to ensure that the system was appropriate for the City’s
resources and infrastructure and could be managed and operated by the City’s personnel; (c)
failing to responsibly and properly represent the City during installation of the water meter and
billing system by using Siemens’s professional skill and supervision; (d) failing to guard against
defects and deficiencies in the work in a manner consistent with Siemens’s standard of care; (e)
failing to determine in general if the work, when fully completed, would be in accordance with
applicable codes, regulations, and industry standards; (f) failing to use ordinary care, skill, and
judgment in the installation of the water meters and billing system; (g) failing to use ordinary
care, skill, and judgment in the selection of tradesman and subcontractors for installation of the
water meters and billing system; and (h) failing to use ordinary care, skill, and judgment in
inspecting the products and work for the water meter and billing project.

63. U.S. Consolidated, M.A.C., Ivision, and Garrett owed legal duties to the City in
connection with the materials and services they provided for the water meter and sewer system
improvement project for the City, including the sale and installation of the new water meters, the
implementation of the new water billing system, and the repairs to the City’s sewer lines and
water treatment plants. U.S. Consolidated, M.A.C., Ivision, and Garrett breached their duties
and obligations to the City by failing to provide adequate services and materials and by failing to
furnish and install a water meter and billing system that was free of defects in design, work, and
materials and that worked correctly with regard to both the physical equipment and software.

64. | The Defendants’ breaches of their duties and standards of care proximately
caused injury to the City, resulting in damages to the City, including but not limited to

investigation and remediation costs, repair costs, loss of use, lost revenue, lost efficiency, loss of

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credit, damage to credit rating and reputation, and other actual and consequential damages. The
City also seeks punitive damages as the Defendants’ conduct rises to the level of gross
negligence.

Count Five — Breach of Implied Warranty of Good Workmanship

65. Pleading affirmatively and in the alternative, Plaintiff incorporates all prior
paragraphs into this section, to the extent not inconsistent, as if fully set forth herein.

66. Siemens impliedly warranted that it was a careful and competent manager and
contractor, and that it would provide construction services and project management in a good
and workmanlike manner. Siemens did not provide such services in a good and workmanlike
manner because the water meter and billing system installed by Siemens is inaccurate, flawed,
and deficient.

67. The City relied on Siemens’s implied warranties. Siemens’s breach of implied
warranties directly and proximately caused injury to the City, resulting in damages to the City,
including investigation and remediation costs, repair costs, loss of use, lost revenue, lost
efficiency, and other actual and consequential damages.

Count Six — Unjust Enrichment

68. Pleading affirmatively and in the alternative, Plaintiff incorporates all prior
paragraphs into this section, to the extent not inconsistent, as if fully set forth herein.

69. The Defendants have unjustly enriched themselves, to the City’s detriment, by the
acts, omissions, and torts described in this Complaint.

70. The City paid Siemens more than $90 million for the installation of an automatic
water meter system and online billing and payment system that is inaccurate, flawed, and

otherwise deficient as described in this Complaint, and the project was awarded to Siemens

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based on the Defendants’ fraudulent misrepresentations. In addition, on information and belief,
the other Defendants received millions of dollars for their participation in a fraudulent
conspiracy with Siemens and for serving as pass-through, sham subcontractors on the Siemens
project, which resulted in a water meter and billing system that is inaccurate, flawed, and
otherwise defective as described in this Complaint.

71. The Defendants’ retention of the City’s funds is unconscionable, and such funds
belong to the City in equity and good conscience. The City requests that the Defendants be
ordered to provide full restitution, disgorge all revenue and wrongfully-obtained funds, and pay
all actual and consequential damages resulting from their wrongful conduct and retention of
funds which in good conscience and equity belong to the City.

Count Seven — Breach of Contract

72. Pleading in the alternative, Plaintiff incorporates all prior paragraphs into this
section, to the extent not inconsistent, as if fully set forth herein.

73. To the extent that the Agreement is enforced as written despite the fraud by
Siemens as described in this Complaint, the City asserts in the alternative that the Agreement
constitutes a valid, binding, and enforceable contract between Siemens and the City, and the City
has performed its obligations under the Agreement.

74. Siemens breached the Agreement by, among other reasons, failing to: (a) provide
a fully-functioning and accurate Automatic Metering System; (b) provide the requisite training
and administrative support to ensure a functional water metering and billing system; (c) properly
install certain water meters; (d) ensure that customer billing account data was properly
transferred and set up in the new billing system; (e) ensure increases in actual meter usage and

increases in revenue that would exceed the cost of the water infrastructure improvement project

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covered by the Agreement; and (f) ensure actual savings to the City from operational changes
and deferred maintenance implemented as a result of the water infrastructure improvements
covered by the Agreement.

75. Asa result of Siemens’s breach of its contractual duties, the City has incurred
money damages for which it now sues.

Count Eight — Breach of Covenant of Good Faith and Fair Dealing

76. Pleading in the alternative, Plaintiff incorporates all prior paragraphs into this
section, to the extent not inconsistent, as if fully set forth herein.

77. To the extent the Agreement is enforced as written despite the fraud by Siemens
as described in this Complaint, Siemens owed and continues to owe the City a duty of good faith
and fair dealing in connection with the Agreement, which is implied in all contracts. As
described in this Complaint, Siemens breached such duty by failing to act consistently with the
justified expectations of the City and by failing to act with decency, fairness, and reasonableness
in its dealings with the City, including by charging the City more than $90 million for a water
system upgrade that is deficient and for which Siemens cannot provide tangible performance
guarantees, increased revenue, and cost savings to the City.

78.  Asaresult of Siemens’s breach of its duty of good faith and fair dealing, the City
has incurred money damages for which it now sues. The City requests that Siemens be ordered
to disgorge all profits and wrongfully-obtained funds, and pay all actual and consequential
damages, resulting from Siemens’s breach of its duty of good faith and fair dealing. The City

also requests punitive damages.

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Vil. AGENCY AND ALTER EGO LIABILITY

79. Siemens Corporation and Siemens Industry, Inc. are wholly owned subsidiaries of
Siemens AG.

80. On information and belief, Siemens Corporation and Siemens Industry, Inc. are
controlled by Siemens AG. On information and belief, Siemens AG is the sole beneficiary and
recipient of the revenue and profits generated by Siemens Corporation and Siemens Industry,
Inc,

81. | Siemens Corporation executed a parent company guarantee with regard to the
performance of Siemens Industry, Inc. in connection with the Agreement and the water system
improvement project for the City. To secure the Agreement and induce the City to approve the
water system improvement project, Siemens represented itself as an $80 billion global company
and provided the City with consolidated financial information for Siemens AG and all of its
related entities and subsidiaries in representing that Siemens was the most qualified company to
perform the water system improvement project for the City.

82. | Siemens Corporation and Siemens Industry, Inc. were the alter egos and mere
instrumentalities of Siemens AG with regard to the water system project performed for the City
and the negotiation and performance of the Agreement. In addition, Siemens Corporation and
Siemens Industry, Inc. were acting as the agents of Siemens AG in entering into and performing
the Agreement and in all dealings with the City related to the water system improvement project,
including representations to the City to induce the City to approve the project and enter into the
Agreement.

83. | Under the circumstances, the separate corporate identity of Siemens AG should be

disregarded and the corporate veil should be pierced to hold Siemens AG jointly and severally

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liable with Siemens Corporation and Siemens Industry, Inc. for all conduct and damages alleged
against Siemens in this Complaint. With regard to all allegations against Siemens in this
Complaint, Siemens AG, Siemens Corporation, and Siemens Industry, Inc. should be held jointly
and severally liable and the separate corporate identities of the companies should be disregarded.
VIII. DAMAGES

84. At this time, the City seeks to recover more than $225 million in actual and
consequential damages. The damages sought by the City include more than $150 million for the
City’s costs of funding the fraudulent Siemens project, more than $75 million for lost revenue
and for damage to the City’s creditworthiness and reputation, and several million dollars for the
estimated cost to repair and manage the malfunctioning water meter system. The monetary
damages sought by the City may increase as the City continues to investigate the scope of the
City’s injuries caused by the Defendants’ conduct.

85. The City also seeks punitive and exemplary damages due to the Defendants’
fraud, malice, and gross negligence as set forth in this Complaint.

IX. JURY DEMAND
86. The City demands a trial by jury.
X. PRAYER

The City prays that Defendants Siemens Industry, Inc., Siemens Corporation, Siemens
AG, Chris McNeil, U.S. Consolidated, Inc., U.S. Consolidated Group LLC, M.A.C. &
Associates, LLC, Ivision IT Consultants LLC, and Garrett Enterprises Consolidated, Inc., be
cited to appear and answer herein, and that the City be awarded the following relief:

(a) all actual and consequential damages resulting from Siemens’s breach of contract

and the Defendants’ tortious conduct in an amount to be proved at trial, including

but not limited to the costs incurred by the City in connection with the Agreement
and the water meter and sewer system project, lost profits, lost revenue, debt
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(b)
(c)
' @)
(e)

service costs, repair costs, loss of use, loss of credit and damage to credit
reputation, business interruption losses, restitution of Defendants’ wrongfully-
obtained gains, and reimbursement for funds or property which in equity and
good conscience belong to the City;

pre-judgment and post-judgment interest;
costs and attorney’s fees;
punitive damages; and

such other and further relief, in equity or in law, to which the City may show itself
justly entitled.

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